Case 3:16-cv-01296-JM-BLM Document 71 Filed 07/23/20 PageID.987 Page 1 of 2



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10
11                        UNITED STATES DISTRICT COURT
12                      SOUTHERN DISTRICT OF CALIFORNIA
13
14   THE KOALA, an unincorporated                  Case No.: 16cv1296 JM (BLM)
     student association,
15                                                 NOTICE OF IMPENDING
           Plaintiff,                              SETTLEMENT
16
           v.
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     PRADEEP KHOSLA, et al.,
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           Defendants.
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           With consent of counsel for Defendants, this notice informs the Court that
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     the parties have reached agreement on the terms of a settlement. Counsel are
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     preparing the necessary documents, which will be executed and filed in the near
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     future. As a result, counsel respectfully suggest that the telephonic case
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     management conference currently scheduled for July 28, 2020 at 2:00 p.m. may be
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     unnecessary, although counsel will continue to follow the Court’s direction to
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     participate if the conference remains on calendar.
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Case 3:16-cv-01296-JM-BLM Document 71 Filed 07/23/20 PageID.988 Page 2 of 2



 1   Dated: July 23, 2020                    Respectfully submitted,
 2                                             By: s/David Loy
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